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6

7                                 UNITED STATES BANKRUPTCY COURT

8                                          DISTRICT OF NEVADA

9    In re:                                             Case No. 20-50780-BTB
                                                        Chapter 11
10   PHARMAGREEN BIOTECH, INC.,
                                                        MOTION TO DISMISS BANKRUPTCY
11                      Debtor.                         CASE

12                                                      Date of Hearing:      September 30, 2020
                                                        Time of Hearing:      2:00 p.m.
13                                                      Place: Courtroom No. 2,
                                                               C. Clifton Young Federal Building
14                                                             & U.S. Courthouse
                                                               300 Booth Street
15                                                             Reno, Nevada 89509
                                                        Court Hearing Participation Phone Conference
16                                                      Number (888) 684-8852 /
                                                        Access Code 2981680#
17
                                                        Judge: Hon. Bruce T. Beesley
18

19            PowerUp Lending Group, Ltd. (“PowerUp”) and EMA Financial, LLC (“EMA”)
20   (collectively with PowerUp, “Creditors”), by and through their undersigned counsel Richard F.
21   Holley, Esq. and Mary Langsner, Ph.D. of the law firm Holley Driggs, hereby file this Motion to
22   Dismiss Bankruptcy Case (“Motion”). The Motion seeks the dismissal of the bankruptcy case
23   (“Case”) of debtor Pharmagreen Biotech, Inc. (alternatively “Debtor” or “Pharmagreen”), pursuant
24   to 11 U.S.C. § 305(a) or, alternatively, pursuant to 11 U.S.C. § 1112(b) on the grounds that
25   Pharmagreen does not qualify as a debtor based on its contemplated business operations which
26   include the cultivation and sale of marijuana. The cultivation and sale of marijuana is not legal
27   under the Controlled Substances Act.
28

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1             This Motion is supported by the papers and pleadings on file in this Case, judicial notice

2    of which is respectfully requested pursuant to FED. R. EVID. 201(b) and (c) and 1101(a) and (b);

3    the Memorandum of Points and Authorities herein; the Declaration of Mary Langsner, Ph.D.

4    (“Langsner Decl.”), concurrently filed herewith pursuant to Local Rules of Bankruptcy Practice of

5    the United States District Court for the District of Nevada (“LR”) 9014(c); and any oral argument

6    the Court entertains at hearing on this Motion.

7             Dated this 28th day of August 2020.

8                                                       HOLLEY DRIGGS

9                                                        /s/ Richard F. Holley
                                                        Richard F. Holley, Esq. (NV Bar No. 3077)
10                                                      Mary Langsner, Ph.D. (NV Bar No. 13707)
                                                        400 South Fourth Street, Third Floor
11                                                      Las Vegas, Nevada 89101

12                                                      Attorneys for PowerUp Lending Group, Ltd.;
                                                        and EMA Financial, LLC
13

14                           MEMORANDUM OF POINTS AND AUTHORITIES

15                                        I.      JURISDICTION

16            This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(a) and 157, and

17   LR 1001(b)(1). Adjudication of the Motion constitutes a core proceeding pursuant to 28 U.S.C.

18   §§ 157(b)(2)(A) and (O). Pursuant to LR 7008, Creditors consent to the entry of final orders or

19   judgment by the bankruptcy judge if it is determined that the bankruptcy Court, absent consent of
20   the parties, cannot enter final orders or judgment consistent with Article III of the United States

21   Constitution.

22                                       II.     INTRODUCTION

23            Aside from the fact that the Debtor has not scheduled any real or personal property assets,

24   no historical or current income and has no current ability to generate revenue, the primary reason

25   for dismissing this bankruptcy case is simple: Pharmagreen does not qualify as a debtor under the

26   Bankruptcy Code.        According to documents recently filed with the Security and Exchange

27   Commission (“SEC”) and statements and representations made on Pharmagreen’s website,

28   Pharmagreen’s business model is based primarily, if not exclusively, on the cultivation and sale of

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1    marijuana plants and product. The cultivation and sale of marijuana is federally prohibited and in

2    violation of the Controlled Substance Act (“CSA”). A bankruptcy case must be dismissed if the

3    continuation of the case would require the court, trustee, or debtor in possession to administer

4    assets that are illegal under the CSA or that constitute proceeds of activity criminalized by

5    the CSA.

6                                 III.     STATEMENT OF RELEVANT FACTS

7               1.      On August 7, 2020 (“Petition Date”), Debtor Pharmagreen Biotech, Inc. filed a

8    skeletal voluntary chapter 11 Petition (“Petition”) [ECF No. 1].1

9               2.      Peter Wojcik (“Mr. Wojcik”), as Debtor’s President, signed the Petition [ECF No. 1

10   p. 4 of 24]; signed the Debtor’s Schedules and Statements [ECF No. 28 p. 15 of 15; ECF No. 29

11   p. 9 of 9]; signed the Debtor’s Amended Petition [ECF No. 11]; and is identified as the “Sole

12   Director/Officer” of the Debtor [ECF No. 29 pp. 7-8 of 9] (emphasis added).

13              3.      The Petition identifies the Debtor’s principal place of business at 12 North Curry

14   Street in Carson City, Nevada, 89703,2 and attests that Debtor “has had its domicile, principal

15   place of business, or principal assets in this district for 180 days immediately preceding the date

16   of this petition or for a longer part of such 180 days than in any other district.” See ECF No. 1

17   pp. 1-3 of 24. Upon information and belief, this address is nothing more than a mail drop. See

18   Langsner Decl. at ¶8.

19   THE 10-Q
20              4.      Eighty days prior to the Petition Date, Debtor filed with the Securities and

21   Exchange Commission (“SEC”) its Form 10-Q Quarterly Report for the period ending March 31,

22   2020 (the “10-Q”). See Exhibit “1” to Langsner Decl.

23              5.      The 10-Q, was filed under criminal penalty with the SEC and signed by Peter

24   Wojcik as the Debtor’s President and Chief Executive Officer. In the 10-Q, the Debtor identifies

25

26   1
      All references to “ECF No.” are to the numbers assigned to the documents filed in the bankruptcy Case as they
27   appear on the docket (“Docket”) maintained by the Clerk of the Court of the United States Bankruptcy Court for the
     District of Nevada.
28   2
         Later amended to read 112 North Curry Street. See ECF No. 11 (“Amended Petition”) at p. 2 of 5.

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1    its principal executive offices as located in British Columbia, Canada, at 2987 Blackbear Court,

2    Coquitlam, British Columbia, V3E3A2. See Ex. 1 to Langsner Decl.

3             6.        The 10-Q describes the nature of Debtor’s business and continuance of operations

4    in pertinent part as follows:

5                       [O]n May 2, 2018, the Company changed its name . . . and changed
                        its principal business to the construction of a biotech complex in
6                       Deroche, British Columbia, Canada,[3] for the purpose of producing
                        a variety of starter plantlets for the Canadian and international high
7                       CBD hemp and medical cannabis industries through the
                        application of the proprietary plant tissue culture in vitro process
8                       called “Chibafreen”[4].

9    See Ex. 1 to Langsner Decl. at p. 7 (emphasis added).

10            7.        Regarding Debtor’s Commitments, Section 10 of the 10-Q begins with:

11                      Effective December 11, 2017, the Company entered into a binding
                        Letter of Intent (“LOI”) with Alliance Growers Corp. (“Alliance”),
12                      whereby the Company will build a new cannabis biotech complex
                        located in Deroche, British Columbia, through their subsidiary,
13                      115BC.

14   See Ex. 1 to Langsner Decl. at p. 15 (emphasis added).

15            8.        In addition, Item 2 of the 10-Q describes the Debtor’s current business, in part, as:

16                      The Company’s mission is to advance the technology of tissue
                        culture science and to provide the highest quality 100% germ free,
17                      disease free and all genetically the same plantlets of high CBD
                        hemp and other flora and offering full spectrum DNA testing for
18
     3
      Regarding Pharmagreen’s progress toward construction of the Center, Item 2 of the 10-Q (“Our Current Business”)
19   provides in pertinent part:
                        On February 7, 2019, The Company’s, [sic] wholly owned Canadian subsidiary,
20
                        WFS Pharmagreen Inc., received notification from Health Canada that its
                        cannabis licensing application under the Cannabis Act and the Cannabis
21
                        Regulations to obtain a license at the proposed site in Deroche, British Columbia,
                        Canada has advanced from the first state, “Intake and Screening” to the second
22
                        stage, “Detailed Review and Initiation of Security Clearance Process,” of a three
                        stage approval process. On May 10, 2019, the Company received confirmation
23
                        from Health Canada that the second stage review was completed and that the
                        Company can proceed to the third and final stage, construction of the biotech
24
                        complex for final inspection and licensing.
25   See Ex. 1 to Langsner Decl. at p. 18.

26   4
      Elsewhere, the Debtor describes Chibafreen as “a new, highly evolved, state-of-the-art in vitro plant production
     method . . . introduced by the company Botanical Research In Motion Inc. (B.R.I.M.) for exclusive use by WFS
27   Pharmagreen Inc. for . . . transplant production in the company’s Botany Center.” See Exhibit “3” to Langsner
     Decl. (emphasis added). Notably, any executory contract(s) related to the proposed exclusive use were not scheduled.
28   See Schedule G, ECF No. 28 p. 11 of 15 (Debtor answered “No” to any executory contracts or unexpired leases).

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1                       plant identification, live genetics preservation using low
                        temperature storage for various cannabis and horticulture plants;
2                       extraction of botanical oils mainly CBD oil, and to deliver
                        laboratory based services to the North American high CBD hemp,
3                       Cannabis and agriculture sectors.

4    See Ex. 1 to Langsner Decl. at p. 17 (emphases added). This continues:

5                       [Debtor’s] immediate focus will be on producing tissue cultured
                        high CBD help starter plantlets. In the early part of 2018, the
6                       Company’s wholly owned Canadian subsidiary, WFS Pharmagreen
                        Inc., applied to Health Canada for a license to produce and sell
7                       tissue culture plantlets and cannabis oil.

8    See Ex. 1 to Langsner Decl. at p. 18 (emphases added).5

9    DEBTOR’S WEBSITE AVERS THAT OPERATIONS ARE PREMISED ON ITS MARIJUANA BUSINESS

10            9.        In addition to the 10-Q filed with the SEC, Pharmagreen has published on its

11   website (the “Website”) a number of statements concerning its business operations.

12            10.       On its “Projects” page, the Website advertises “an innovative and proprietary

13   design of a 63,000 sq. ft. [] building complex” termed the Cannabis/Botany Biotech Complex, or

14   the Cannabis/botany Biotech Centre (the “Center”). See Exhibit “2” to Langsner Decl.

15            11.       Debtor also advertises that construction of the Center is expected to take twenty-

16   four months to complete and notes the Center will include “an all-year-round greenhouse operation

17   in support of its starter plantlets sales for high CBD hemp farming.” See id.

18            12.       The greenhouse “will generate revenues for the company, while its 1 Million per

19   month, tissue culture starter plantlet production facility, Cannabis Biotech Complex, is under
20   construction.” See id.

21            13.       The Website describes the focus of the Center as “to meet the rapidly increasing

22   Cannabis market demand for medicinal quality starter plant material[,]” while the greenhouse

23   space “will further allow for year-round nurseries safeguarding cultured and developing plants

24   for all growing seasons.” See id. (emphases added).

25
     5
      Notably, any value attributable to the Debtor’s total ownership of WFS Pharmagreen, Inc. (“WFS”) or its majority
26   ownership of subsidiary 1155097 BC Ltd. (“115BC”), or of the value of WFS’s marijuana licensure with Canadian
     authorities or the value of 115BC’s interest in the Center or other assets, are absent from the Debtor’s Schedules.
27   Compare Ex. 1 to Langsner Decl. at p. 7 Item 2 (describing Debtor’s ownership of WFS and 115BC, as well as its use
     of “condensed . . . consolidated financial statements”), with ECF No. 28 pp. 2-4 of 15 (Schedule A/B, lacking such
28   details).

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1             14.       Intended on site research and development at the Center will include working to

2    “enhance existing micro-propagation techniques for cultured plantlets and help refine developing

3    protocols for a variety of Cannabis strains for indoor and outdoor cannabis growers.” Id.

4    (emphasis added).

5             15.       Debtor describes its intent that the Center serve as a model for future build-outs

6    elsewhere in Canada and the world, noting its facility “for large-scale production, research and

7    storage of . . . plantlets with consistent and certifiable constitute properties ensure the highest

8    standards for safety and quality of Cannabis as medicine[,]” and that the Center is “in a unique

9    position to lead the way in this exciting filed of Cannabis biology.” Id. (emphases added).

10            16.       The Website describes Debtor’s “Services” as “dedicated to breaking boundaries

11   to become the most internationally recognized and valued biotech science solutions company in

12   North America for . . . Cannabis products development [and others].” See Exhibit “3” to

13   Langsner Decl.

14            17.       The Center “will produce approximately 10 million plantlets at full capacity[,]” and

15   “greenhouse structures will be built on the property to provide nursery service for cannabis plants

16   inclusive of indica, sativa and hemp strains for the cannabis cultivators.” Id. (emphasis added).

17            18.       In addition, “Services” performed included “[e]xtraction service for cannabis

18   plant oils . . . for all clients as well as for future production of Pharmagreen brands of cannabis

19   products for human use.” Id. (emphases added).
20   DEBTOR HAS NO MEANINGFUL FINANCIAL PROSPECTS AND QUESTIONABLE LEADERSHIP

21            19.       In May of 2020, the Debtor admitted that “the current funds available to the

22   [Debtor] will not be sufficient to fund expenses related to maintaining our planned operations.”

23   See 10-Q, Ex. 1 to Langsner Decl. at p. 18.

24            20.       Debtor also admitted it had “spent more funding on the planned build-out of our

25   biotech complex, of which $98,406 was prepaid as at March 31, 2020. Prepaid expenses and

26   deposits also include deferred financing costs of $250,000 associated with the Company’s plan to

27

28

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1    issue an Exchange Traded Note on the Vienna Stock Exchange.” See 10-Q, Ex. 1 to Langsner

2    Decl. at p. 18.6

3             21.       As of March 31, 2020, the Debtor had incurred a number of debts owed to insiders,

4    described to the SEC as “Related Party Transactions” as of March 31, 2020, as follows7:

5                           Owed $299,272 [US] (September 30, 2019 - $372,799 [US]) to
                             the President of the Company,[8] which is non-interest
6                            bearing, unsecured, and due on demand. During the six months
                             ended March 31, 2020, the Company incurred consulting fees
7                            of $48,841 (2019 - $45,288) to the President of the Company.

8                           Owed $nil (September 30, 2019 - $47,367 [US]) to a company
                             controlled by the President of the Company, which is non-
9                            interest bearing, unsecured, and due on demand.

10                          Owed $51,766 [US] (September 30, 2019 - $55,500 [US]) to the
                             father of the President of the Company, which is non-interest
11                           bearing, unsecured, and due on demand.

12                          Owed $24,087 [US] (September 30, 2019 - $25,825 [US]) to a
                             Company owned by the father of the President of the
13                           Company, which is included in accounts payable and accrued
                             liabilities. The amount due is non-interest bearing, unsecured,
14                           and due on demand.

15                          Owed $302,502 [US] (September 30, 2019 – $291,504 [US]) to
                             a company controlled by the Chief Financial Officer of WFS,
16                           which is included in accounts payable and accrued liabilities.
                             The amount due is non-interest bearing, unsecured, and due on
17                           demand. During the six months ended March 31, 2020, the
                             Company incurred consulting fees of $48,841 (2019 - $45,288)
18                           to the company controlled by the Chief Financial Officer of
                             WFS.
19
20   See 10-Q, Ex. 1 to Langsner Decl. at p. 15 (emphases added).

21

22

23
     6
       Interestingly, neither the prepayment of expenses, nor any deposits, nor the six figures in “deferred financing” are
24   scheduled in Debtor’s filings under penalty of perjury with this Court. See, e.g., Schedule A/B at Item 6 (“Does the
     debtor have any deposits or prepayments? No.”); Item 59 (“Does the debtor have any interests in intangibles or
25   intellectual property? No.”); and Item 76 (“Other property of any kind not already listed. [None listed.]”).
     7
      These are noticeably absent from the Debtor’s Schedules. Specifically, none of these insider claims are listed in
26
     Debtor’s Schedule E/F, filed under penalty of perjury. See ECF No. 28 pp. 7-10 of 15. Compare id., with Ex. 1 to
27   Langsner Decl. at p. 15.
     8
      Debtor Pharmagreen Biotech Inc. is defined as the “Company” in the 10-Q. See 10-Q, Ex. 1 to Langsner Decl. at
28   Certification (last page).

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1              22.      The Debtor has described there being “no changes in our internal control over

2    financial reporting . . . that have materially affected, or are reasonably likely to materially affect,

3    our internal controls over financial reporting.” See 10-Q, Ex. 1 to Langsner Decl. at p. 20.

4              23.      The Debtor admitted in filing with the SEC that, “as of March 31, 2020[,] disclosure

5    controls and procedures were not effective due to the existence of material weaknesses in our

6    internal controls over financial reporting.” See 10-Q, Ex. 1 to Langsner Decl. at p. 20 (emphasis

7    added).

8              24.      Regarding prospects of successful operations, in May of 2020 the Debtor stated,

9    “We are in the process of seeking additional equity financing . . . to fund our intended business

10   operations.” Also, “additional equity financing may not be available to us on acceptable terms or

11   at all, and thus we could fail to satisfy our future cash requirements.” See 10-Q, Ex. 1 to

12   Langsner Decl. at pp. 18-19.

13             25.      Given the paucity of assets scheduled [ECF No. 28], it does not appear from the

14   Debtor’s filings under oath that its financial prospects have improved since these statements were

15   made to the SEC in May of 2020.

16                                              IV.      ANALYSIS

17             “Several Courts have held that a bankruptcy case must be dismissed if the continuation of

18   the case would require the court, trustee, or debtor in possession to administer assets that are illegal

19   under the CSA or that constitute proceeds of activity criminalized by the CSA.” Burton v. Maney
                                                                                            9
20   (In re Burton), 610 B.R. 633, 638 (B.A.P. 9th Cir. 2020) (collecting cases).

21   A.        Debtor’s Planned Marijuana Business Is Not Authorized Under Federal Law.

22             “Marijuana, . . . remains a Schedule I controlled substance under the [CSA]. The CSA

23   prohibits, among other things, the manufacture, distribution, dispensing of, or possession with

24   intent to manufacture, distribute, or dispense, a controlled substance.” Burton v. Maney (In re

25   Burton), 610 B.R. 633, 627 (B.A.P. 9th Cir. 2020) (citations omitted). “It is clear that the

26   Marijuana Business of [the debtor] is not authorized under the Controlled Substances Act.” In re

27
     9
      Burton has been reviewed and discussed or distinguished by Courts outside the Ninth Circuit, for example In re
28   Malul, 614 B.R. 699 (Bankr. D. Colo. 2020).

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1    CWNevada, 602 B.R. 717, 746 (Bankr. D. Nev. 2019). Further, Bankruptcy Courts in this District

2    have dismissed bankruptcy cases in which debtors either receive or propose to receive income

3    from a source authorized to distribute or cultivate marijuana. See In re CWNevada, 602 B.R. 717,

4    727 n.24 (Bankr. D. Nev. 2019) (collecting cases).

5             Here, the crux of the Debtor’s business model and planned business operations is

6    prohibited under federal law. Attestations in the 10-Q, which were made under criminal penalty

7    and filed with the SEC, are that Debtor’s long-term plans to generate revenue are dependent upon

8    the cultivation and sale of marijuana. See 10-Q, Ex. 1 to Langsner Decl. at pp 15, 17, 18.

9             Dismissal of this bankruptcy Case is therefore appropriate under 11 U.S.C. § 305(a) and,

10   alternatively, under 11 U.S.C. § 1112(b).

11   B.       Dismissal Is Appropriate Under 11 U.S.C. § 305(a).

12            Dismissal of a chapter 11 bankruptcy case pursuant to 11 U.S.C. § 305(a) is also warranted

13   when the “interests of creditors and the Debtor would be better served by dismissal of the case.”

14   In re CWNevada LLC, 602 B.R. 717, 747 (Bankr. D. Nev. 2019).10 11 U.S.C. § 305(a) provides

15   in pertinent part:

16                      The court, after notice and a hearing, may dismiss a case under this
                        title, or may suspend all proceedings in a case under this title, at any
17                      time if—(1) the interests of creditors and the debtor would be better
                        served by such dismissal or suspension[.]
18

19            Here, the Debtor’s proposed business model is based upon the development, cultivation,
20   and sale of marijuana plantlets through and/or with its wholly-owned subsidiary WFS in

21   furtherance of Debtor’s “Brand”. Debtor’s proposal to build the Center, to obtain cannabis

22   licensure under Canadian law, to utilize greenhouse science to grow marijuana plants in Canada

23   twelve months out of the year, and to sell the products resulting therefrom all run afoul of United

24   States federal law and the Controlled Substances Act. Furthermore, and impactful to the analysis

25
     10
        In CWNevada, the Court was presented with a corporate chapter 11 debtor holding licenses duly issued under
26   Nevada law for, inter alia, the cultivation and sale of medicinal and recreational marijuana, and the debtor was “in the
     business of cultivating, producing, and distributing medical and recreational marijuana[]” (and also had a portion of
27   its business operations devoted to CBD). CWNevada, 602 B.R. at 723. However the marijuana business operated by
     the CWNevada debtor “appear[ed] to be the primary source of the Debtor’s revenue and appear[ed] to be in clear
28   violation of the Controlled Substances Act.” CWNevada, 602 B.R. at 730.

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1    of dismissal of this bankruptcy Case, Debtor’s leadership has admitted to overspending the

2    Debtor’s funds previous to the Petition Date; failed to secure a revenue stream since discovering

3    an inability to fund expenses as of at least March 31, 2020; filed conflicting statements under

4    criminal penalty with the SEC and under penalty of perjury with this Court; and (for several months

5    prepetition) identified material weaknesses in internal controls related to financial reporting but

6    also admitted to not making changes to these controls. Furthermore, a number of insider debts

7    reported in the 10-Q have not been scheduled in this bankruptcy case, a number of assets described

8    in Debtor’s Website and 10-Q were not scheduled in this bankruptcy case, and Debtor’s

9    explanation of how it spent money in the several months preceding the Petition Date are

10   inconsistent and confusing. Notably, the question of who holds what equity interests in this Debtor,

11   and who exactly voted at the board meeting preceding the filing of the Corporate Resolution, are

12   also not clear, even though the Debtor has made two separate filings under penalty of perjury with

13   this Court regarding who holds what equity interests in it.

14            The conflicting statements under oath concerning assets, liabilities, and ownership; the

15   admissions regarding failures in accounting practices and not making changes to materially affect

16   these failures; the business model premised upon cannabis licensure in Canada to cultivate and sell

17   marijuana and marijuana products year-round; and the Debtor’s total lack of demonstrated

18   financial capability to continue operations, altogether, indicate that the best interests of creditors

19   and the Debtor are better served by dismissal of this bankruptcy Case.
20   C.       Alternatively, Dismissal Is Appropriate Under 11 U.S.C. § 1112(b) For Gross
              Mismanagement of the Estate.
21

22            11 U.S.C. § 1112(b)(1) begins with:

23                      Except as provided in paragraph (2) and subsection (c)[11], on
                        request of a party in interest, and after notice and a hearing, the court
24                      shall convert a case under this chapter to a case under chapter 7 or
                        dismiss a case under this chapter, whichever is in the best interests
25                      of creditors and the estate, for cause unless the court determines that

26

27   11
        This states, “The court may not convert a case under this chapter to a case under chapter 7 of this title if the debtor
     is a farmer or a corporation that is not a moneyed, business, or commercial corporation, unless the debtor requests
28   such conversion.”

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1                        the appointment under section 1104(a) of a trustee or an examiner is
                         in the best interests of creditors and the estate.
2

3    This Court has broad discretion to determine what constitutes “cause” for dismissal under Section

4    1112(b)(1) of the Bankruptcy Code. See Sanders v. U.S. Trustee (In re Sanders), 2013 WL

5    1490971, *6 (B.A.P. 9th Cir. Apr. 11, 2013).

6               1.       Cause Exists Based on Debtor’s Gross Mismanagement of the Estate.

7               Section 1112(b)(4)(B) of the Bankruptcy Code12 provides:

8                        (4) For purposes of this subsection, the term “cause” includes— . . .
                         (B) gross mismanagement of the estate[.]
9

10              Cause exists to dismiss this case because the Debtor’s business model is premised upon

11   marijuana, which is illegal under the Controlled Substances Act. Operating and managing a

12   cannabis operation in violation of the Controlled Substances Act is considered to be “gross

13   mismanagement” within the terms of the statute.

14              2.       Dismissal of this Case Accords With Prevailing Case Law in This Circuit.

15              Here the Debtor is similar to the debtor in In re CWNevada, 602 B.R. 717 (Bankr. D. Nev.

16   2019), a recently filed bankruptcy case involving a marijuana business. In CWNevada, one of the

17   debtor’s creditors sought to dismiss the chapter 11 case pursuant to 11 U.S.C. § 305(a) or, in the

18   alternative, 11 U.S.C. § 1112(b) primarily on the grounds that the debtor was engaged in the

19   marijuana business, a federally prohibited activity. The Court ultimately held that dismissal under
20   11 U.S.C. § 305(a) was warranted13 because, inter alia, the debtor’s marijuana business was not

21   authorized under the Controlled Substances Act,14 and the debtor’s financial issues were not

22   accurately portrayed by the debtor’s management. CWNevada, 602 B.R. at 745-46.

23              In Burton v. Maney (In re Burton), 610 B.R. 633, 627 (B.A.P. 9th Cir. 2020), the

24   Bankruptcy Appellate Panel (“BAP”) affirmed dismissal of a chapter 13 bankruptcy where the

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          11 U.S.C. §§ 101 – 1532.
     13
27        Whether dismissal would have been warranted under Section 1112(b) was not addressed. See, e.g., 602 B.R. at 747.
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       There was also no evidence that the debtor’s CBD business did not run afoul of the Controlled Substances Act. See,
28   e.g., CWNevada, 602 B.R. at 743.

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1    debtors owned an interest in an entity that was not currently operational, but had commenced

2    litigation to recover on breach of contracts related to the growth and sale of marijuana. Even

3    though Burton was a chapter 13 case, the debtors’ relationship to a shuttered marijuana business

4    is apposite to the determination of whether Pharmagreen’s bankruptcy should be dismissed

5    because, in Burton, it was the debtors’ “connection with the marijuana business” under the

6    circumstances15 that amounted to cause for dismissal. See Burton, 610 B.R. at 639 n.10.

7              The Burton debtors had stated they did not “currently derive income from any entity

8    involved in the marijuana industry[,]” Burton, 610 B.R. at 634-35, were not currently involved in

9    the cannabis industry, and “were ‘willing to get out of the [entity’s] business entirely[,]’” Burton,

10   610 B.R. at 636. However, the entity sought to recover funds “attributable to contracts under

11   which it was to serve as a cultivator, grower, holder, and/or seller of marijuana.” Burton, 610 B.R.

12   at 636.

13             In its dismissal analysis, the Court also noted:

14                      Given the nature[] of [the entity’s] business, which was clearly
                        involvement in the marijuana industry, neither a case trustee, nor
15                      these Debtors, can sell or liquidate the [ownership interest] in the
                        [entity], which is property of this estate through the bankruptcy case.
16                      This would necessitate the Court and the Trustee’s involvement in
                        condoning the illegal activity.
17

18   Burton, 610 B.R. at 636-37.

19             Thus, despite the Burton debtors declaring under oath that the formerly operational
20   marijuana entity had gone out of business in advance of the Petition Date, had generated no income

21   since, was unlikely to recover money through its litigation,16 and would not be relied upon to fund

22   a plan, the Court found that “[a]ny recovery from the litigation would be derived from conduct

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      In addition, there was evidence (not, apparently, considered by the Bankruptcy Court), that the debtors held a 50%
     membership interest in another entity engaged in the medical marijuana business. See Burton, 610 B.R. at 636 n.7.
26
     16
         Apparently, a contingency fee arrangement and a litigation financing lien were at play. Burton, 610 B.R. at 635.
27   Although, it seems the Court did not find the Debtors sufficiently proved that the litigation claims were worthless.
     Burton, 610 B.R. at 639, n.11; see also id. at 640 (noting the debtors’ failure to support assertions with proof that the
28   litigation “would not result in their receipt of any litigation proceeds.”).

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1    that is illegal under federal law[.]” Burton, 610 B.R. at 635, 636. Therefore, any distributions to

2    the debtors “would also be derived from illegal conduct.” Burton, 610 B.R. at 637.

3               Here, although Pharmagreen is not yet operational as a cultivation and growth facility, its

4    entire business model is predicated upon WFG successfully obtaining cannabis licensure in

5    Canada, after which there will be developing, cultivating, and selling marijuana plantlets which

6    are grown in the cannabis biotech complex17—all of which will take place under the Debtor’s

7    “brand.” Specifically, Pharmagreen states its “immediate focus will be on producing tissue

8    cultured high CBD hemp starter plantlets[,]” and “Management believes that if [funding events

9    succeed], we will generate sales revenue within twelve months thereof.” See 10-Q at p. 18, Item 2.

10              Other Ninth Circuit law supports the conclusion that the Debtor’s business runs afoul of

11   federal law, thus warranting dismissal of the bankruptcy case. In Garvin v. Cook Investments NW,

12   SPNWY, LLC (In re Cook Investments NW), 922 F.3d 1031 (9th Cir. 2019),18 the Ninth Circuit

13   addressed the “good faith” requirement attendant to plan confirmation pursuant to 11 U.S.C.

14   § 1129(a)(3), when faced with confirmation premised in part on rental income from a marijuana

15   business.

16              Garvin involved five related real estate entities, one of which leased property to an

17   unrelated third party licensed under the State of Washington to grow marijuana. The Ninth Circuit,

18   affirming plan confirmation, noted that an 11 U.S.C. § 1129(a)(3) challenge to the good faith of a

19   debtor in proposing its plan goes to whether the plan is proposed in good faith, not the good faith
20   of the terms that are themselves proposed. See Garvin, 922 F.3d at 1034-35.

21              In Garvin, the United States Trustee had previously sought dismissal of the bankruptcy

22   under Section 1112(b) for the debtors’ gross mismanagement, but this was denied without

23   prejudice based (in part) on the Debtors’ representation that the lease violating the CSA would be

24   rejected (and, it later was). See, e.g., Garvin, 922 F.3d at 1033. Nevertheless, CWNevada

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27     Pharmagreen maintains that WFS is in the third and final stage of obtaining cannabis licensure and that Pharmagreen
     “has begun site development work for the building process” of the biotech complex. See 10-Q at p. 18, Item 2.
28   18
          Discussed in In re CWNevada, 602 B.R. 717 (Bankr. D. Nev. 2019).

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1    distinguished19 Garvin on the basis that no plan was then pending before the (CWNevada) Court,

2    and Garvin “did not preclude consideration of a motion to dismiss . . . .” In re CWNevada, 602

3    B.R. at 730. Client is likely to be able to avail itself similarly, in the event a dismissal motion is

4    pending at a time when no plan has been proposed by Pharmagreen.

5             3.        The Exceptions Set Forth in Section 1112(b)(2) Do Not Rescue the Case
                        from Dismissal.
6

7             11 U.S.C. § 1112(b)(2) provides:

8                       The court may not convert a case under this chapter to a case under
                        chapter 7 or dismiss a case under this chapter if the court finds and
9                       specifically identifies unusual circumstances establishing that
                        converting or dismissing the case is not in the best interests of
10                      creditors and the estate, and the debtor or any other party in interest
                        establishes that—
11
                        (A) there is a reasonable likelihood that a plan will be confirmed
12                      within the timeframes established in sections 1121(e) and 1129(e)
                        of this title, or if such sections do not apply, within a reasonable
13                      period of time; and
                        (B) the grounds for converting or dismissing the case include an act
14                      or omission of the debtor other than under paragraph (4)(A)—
                                (i) for which there exists a reasonable justification for the act
15                      or omission; and
                                (ii) that will be cured within a reasonable period of time fixed
16                      by the court.

17            Here, there is no reasonable likelihood that a plan will be confirmed. Aside from the fact

18   that the Debtor has admitted in the 10-Q and the Schedules, that it has no income, cash flow, or

19   proposed source of financing, the Debtor’s business model is predicated upon marijuana operations
20   which are illegal.

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        Courts in other Circuits have distinguished Garvin or taken issue with its analysis under Section 1129(a)(3). See,
26   e.g., In re Way to Grow, Inc., 610 B.R. 338, 346-47 (D. Colo. 2019) (attesting that Garvin distinguished In re Rent-
     Rite Super Kegs West Ltd., 484 B.R. 799 (Bankr. D. Colo. 2012) on a mistaken presumption about Rent-Rite’s
27   analytical premise); see also In re Basrah Custom Design, Inc., 600 B.R. 368, 381 n.38 (Bankr. E.D. Mich. 2019)
     (disagreeing with Garvin’s § 1129(a)(3) analysis and noting it would not be unreasonable to question whether the
28   Ninth Circuit should have refused to decide the § 1112(b) issue raised by the United States Trustee on appeal).

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1                                         V.        CONCLUSION

2             For the foregoing reasons, Creditors respectfully request the Court grant the Motion and

3    dismiss the Bankruptcy Case of Debtor Pharmagreen Biotech, Inc.

4             Dated this 28th day of August 2020.

5                                                      HOLLEY DRIGGS

6                                                        /s/ Richard F. Holley
                                                       Richard F. Holley, Esq. (NV Bar No. 3077)
7                                                      Mary Langsner, Ph.D. (NV Bar No. 13707)
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9                                                      Attorneys for PowerUp Lending Group, Ltd.;
                                                       and EMA Financial, LLC
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1                                       CERTIFICATE OF SERVICE

2             I hereby certify that I am an employee of Holley Driggs, and that on the 28th day of August

3    2020, I caused to be served a true and correct copy of MOTION TO DISMISS BANKRUPTCY

4    CASE in the following manner:

5                       (ELECTRONIC SERVICE)          Under Local Rule 5005 of the United States

6    Bankruptcy Court for the District of Nevada, the above-referenced document was electronically

7    filed on the date hereof and served through the Notice of Electronic Filing automatically generated

8    by that Court’s facilities.

9                       (UNITED STATES MAIL)          By depositing a copy of the above-referenced

10   document for mailing in the United States Mail, first class postage prepaid, at Las Vegas, Nevada,

11   to the parties listed on the attached service list, at their last known mailing addresses, on the date

12   above written.

13                      (OVERNIGHT COURIER) By depositing a true and correct copy of the above-

14   referenced document for overnight delivery via Federal Express, at a collection facility maintained

15   for such purpose, addressed to the parties on the attached service list, at their last known delivery

16   address, on the date above written.

17                      (FACSIMILE) That I served a true and correct copy of the above-referenced

18   document via facsimile, to the facsimile numbers indicated, to those persons listed on the attached

19   service list, on the date above written.
20
                                                             /s/ Olivia Swibies
21                                                          An employee of Holley Driggs

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